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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

MDL NO. 2179
IN RE: OIL SPILL by the OFL RIG :
“DEEPWATER HORIZON?” in the — : SECTION: J
GULF OF MEXICO, on ;
APRIL 20, 2010
: JUDGE BARBIER
THIS DOCUMENT RELATES TO: MAG. JUDGE SHUSHAN

1. Bill's Opster House v BP et al (C.A. 10-1308)

2. Howard Buras v BP et al (C.A.10-2994)

3. Armand 's Bistro v BP et al (C.A. 10-4489)

4. Faye Loupe et al, v BP et al (C.A. 10-2764)

5. Laura Gautreaux v BP et al (C.A, 10-1539)

&. Brent Rodrigue, Sr. et al. v BP et al (C.A, 10-1325)

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NOTICE OF MANUAL ATTACHMENT AND FILING OF EXHIBIT “A” TO
MOTION FOR SUMMARY JUDGMENT

Undersigned counsel hereby notices that he is manually filing the Exhibit “A” to the

Motion For Summary Judgment because its size exceeds the capabilities for electronic filing.

Respectfully submitted,

/s¢ Daniel &. Becnel, Jr.
DANIEL E. BECNEL, JR. (#2926)
BECNEL LAW FIRM, LLC
P. O. Drawer H
106 West Seventh Street
Reserve, Louisiana 70084
Telephone: (985) 536-1186
Facsimile: (985) 536-6444
E-mail: dbecnel@becnellaw.com
Attorneys for Plaintiffs in:
1, Bill's Oyster House v BP et al (C.A, 10-1308)
2, Howard Buras v BP et al (C.A.10-2994)
3. Armand’s Bistro v BP et al (C.A, 10-4489)
4. Faye Loupe et al. v BP et al (C.A, 10-2764)
5. Laura Gautreaux v BP et ai (C.A. 10-1539)

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6. Brent Rodrigue, Sr. et al. v BP et al (C.A. 10-1325)

CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the above and foregoing Memorandum has been served on
all courisel by electronically uploading the same to Lexis Nexis File & Serve in accordance with
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the United States District Court for the Eastern District of Louisiana by using the CM/ ECF
System, which will send a notice of electronic filing in accordance with the procedures
established in MDL 2179, on this 12th dayof_ April, 2011.

ff Daniel E. Becnel, Jr.

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EXHIBIT “A”

National Commission on the BP Deepwater Horizon Oil Spill and
Offshore Drilling

Chief Counsel’s Final Report

Chapters 4.3 and 4.4 (“Cement” & “Foamed Cement Stability”)

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Chief Counsel’s Report | 2011

National Commission on the BP Deepwater Horizon Oil Spill and Offshore Drilting

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Ch apter 4, 3 iC Ce eT ent Figure 4.3.1. Typical completed

cement job.

Well Cementing

bein,

“4s ement performs several important functions in an oil well.
~ It fills the annular space between the outside of the casing
and the formation. In doing so, it structurally reinforces the

‘,

se casing, protects the casing against corrosion, and seals off
the annular space, preventing gases or liquids from flowing up or down
through that space. A cement job that properly seals the annular space |

around the casing is said to have achieved zonal isolation. ap eonal
: . . . Above and
The cementing process is procedurally and technically complex. This chapter first Below

describes the steps in the cementing process, the ways in which cement can be evaluated
and remediated, and methods for laboratory cement slurry testing. It then describes the
Macondo cementing operation in detail. Finally, it sets out the Chief Counsel’s team’s ©
technical and management findings regarding the Macondo cementing process, The
Chief Counsel’s team finds that the Macondo cement failed to achieve zonal isolation.
While the Chief Counsel’s team cannot be sure why the cement failed, the team has
identified several risk and other factors that may have contributed to cement failure, A Converted
either alone or together. ce Float

. Equipment

The Cementing Process

The cementing process involves pumping cement down the inside of a casing string until.
it flows out the bottom and back up into the annular space around the casing string.
Achieving zonal isolation requires several things.

* First, the cement should fill the annular space in the zone to be isolated and also

a specified space above and below that zone.
Second, cement flowing into the annular space should displace all of the drilling .
mud from that space so that no gaps or uncleared channels of mud remain =.
behind. If mud channels remain after the cement is pumped, they can become a ce
flow path for gases or liquids from the formation, Good mud removal is critical
for a successful cement job.’

Third, the cement should be formulated so that it sets properly under cea
~ Mud Displaced

From Annulus
by Cement

wellbore conditions.

Although each cement job presents unique challenges, the principal steps involved in
pumping cement at Macondo were the same as those for most deepwater wells. The
following subsections describe the process in simplified form. These sections describe
the process for running and cementing a production casing—the last casing string to
be run in the well once a hydrocarbon-bearing zone has been penetrated. The process
generally applies to running and cementing shallower casing strings and liners as well.

Mud Left in
Rathole

‘ TrialGraphix
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Figure 4.3.2. Sample
caliper log data showing
open hole diameter

by depth. —

Primary Cementing. Primary cementing refers to an operator’s initial attempt to seal
a casing with cement. By contrast, remedial cementing refers to subsequent cementing
efforts undertaken if the primary cement does not achieve zonal isolation.

TrialGraphix

When the cementing crew pumps cement (or any other fluid) down the
production casing and back up the annular space around it, the cement
tends to flow preferentially through paths of least resistance. When the
casing is not centered in the wellbore, the wider annular space becomes the
path of least resistance,’ shown in Figure 4.3.4. Cement tends to flow up
through those spaces. This can seriously compromise mud removal and
leave channels of mud behind in the narrower annular spaces.* Because of
this problem, cementing experts consistently emphasize the importance of TrialGraphix
keeping the casing centered in the wellbore.’

Logging and Mud Conditioning

After rig personnel finish drilling a well that will be completed as a production well, they
typically condition the mud in the wellbore and then jog the wellbore itself before lowering
the final production casing and performing the final cement job.

During drilling operations, mud engineers manipulate the characteristics of drilling mud
in the wellbore to optimize the removal of cuttings and to maintain hydrostatic pressure in
the well. At the end of drilling operations, the mud is normally circulated to homogenize
its properties and modify those properties as necessary to facilitate wellbore logging and
eventual mud removal. That circulation process is called mud conditioning. Drillers
normally circulate the mud in order to remove cuttings from the mud and ensure that

it displays uniform and appropriate density and viscosity characteristics.*, American
Petroleum Institute (APT} recommendations state:

Well preparation, particularly circulating and conditioning fluids in the wellbore, is
essential for successful cementing. Many primary cementing failures are the result
of fluids that are difficult to displace and/or of inadequate wellbore conditioning.’

Logging refers to the process of examining and recording the characteristics of the
wellbore (first discussed in Chapter 2), Prior to running a production casing string, drillers
typically examine the open section of the wellbore with an extensive suite of logging tools
that use electric, sonic, and radiologic sensors to measure the physical characteristics of
the formation and any fluids it might contain in order to learn as much as possible about
the nature of the hydrocarbon-bearing formation.‘ One such tool, shown in Figure 4.3.2,

is a caliper log, which measures the diameter of the wellbore. Because the wellbore
diameter can vary significantly as a result of normal drilling variations, these data can be an
important input in designing and modeling a primary cement job.

Figure 4.3.3.
Centralizer.

het arr in

Lowering the Production Casing String in Place
With Centralizers

After logging is complete, rig personnel lower the production easing into
place. During this process, they may install centralizers , shown in
Figure 4.3.3, which serve an important role in the cementing process.

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Centralizers help keep the casing as close to the center as Figure 4.3.4. Top view of off-centered casing.
possible. They come in a variety of designs. Centralizer

subs, shown in Figure 4.3.5, may be screwed between casing
sections while bow spring centralizer slip-ons are attached to
the outside of existing casing using collars. Sometimes stop
collars (so named because they stop the centralizer from
sliding up or down the casing) are separate pieces from the
centralizer; sometimes they are integrated into the

centralizer itselt.*

Cement in |
Engineers measure the degree to which a pipe is centralized in | Annutar Space

a wellbore by calculating the “pipe standoff ratio.”* A perfectly Drilling Mud
centered casing has a standoff ratio of 100% while a casing that
touches the walls of the wellbore has a standoff ratio of 0%.
Although the industry rule of thumb is to achieve a standoff

of 75%6,"° cementing experts state that operators should
achieve the highest possible standoff in order to facilitate

mud displacement from the annular space.’ Engineers must

. : Drilling Mud

calculate the standoff not only at each centralizer location, Channet Left in

but also between the centralizers, Casing can bend and sag Annular Space

between centralizers, dramatically lowering the standoff in the TrialGraphix

intervals between them,”

Float Valves and Float Valve Conversion Figure 4.3.5.

Centralizer sub.

Illustrated in Figure 4.3.6, float valves are one-way valves (also called check valves)
installed at or near the interior bottom end of a casing string. Once operational, float
valves permit fluid (such as mud or cement) to flow down through the inside of the casing
while preventing fluids from flowing in the reverse direction back up the inside of the
casing. By doing so, float valves prevent cement that is pumped down through the casing,
into the shoe track, and up into the annular space from flowing back up through the
valves once the cement is in place, an oceurrence known as “reverse flow” or “u-tubing.”"?

Shoe and Shoe Track. The shoe refers to the bottom of the casing, The shoe track is the
section of the casing between the shoe and the float valves above it.

A float check examines whether the float valves are working properly—that is,
preventing cement from flowing back up through the valves due to u-tube pressure.
U-tube pressure is created by the differential hydrostatic pressure between the fluid
column inside the casing and the fluid column in the annulus. In cases where the cement
density is close to drilling mud density, the u-tube pressure may be very small—too

small to induce backflow or to be detected at the rig. The smaller the density differential
between the cement and mud, the smaller the u-tube pressure and its expected effects." Weatherford

Float valves are important during the cementing process but can interfere with the process

of lowering a casing string, As the casing string is lowered, it is generally preferable that mud be
allowed to flow up the inside of the casing string. Otherwise, the casing will, as it descends, force
mud down the well and back up through the annular space, greatly i increasing the pressure that
the casing string exerts on the formation as it is lowered."

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Figure 4.3.6. Float valve conversion. To allow mud to flow into the casing string while it is being
lowered, operators typically use an auto-fill tube. An auto-fill
tube is a hollow tube that extends through and props open the
two float valves, allowing mud to flow up through the casing
while the casing is being run into the well. Once rig personnel
finish lowering the casing, they convert the float valve
assembly by pushing the auto-fill tube down and out of the float
Float Valves valves. This allows the float valves to close, converting them
into one-way valves before cementing begins.

Auto-Fill Tube

Wellbore Conditioning

After converting the float valves, rig personnel normally
circulate mud through the newly installed casing and wellbore
again. Like the earlier mud circulation process, this has at least
TrialGraphix two benefits. First, it cleans the casing, drill pipe, and wellbore
of cuttings, gelled mud, and other debris that can interfere with
good cement placement and performance."* Second, the mud flow conditions the mud itself by
breaking its gel strength, decreasing its viscosity, and increasing its mobility.7

-7. Full bottoms up.

Marker Marker

» RigBefore ;
» Cement Pour }
Begins

Clean
Drilting

Circulation Begins During Circulation . Cementing Begins

TrialGraphix

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Under optimum conditions, operators prefer to circulate enough drilling mud through the casing
after landing it to achieve what is known as a full hottoms up." Circulating bottoms up means
that the rig crew pumps enough mud down the well so that mud originally at the well bottom
returns back to surface’? as shown in Figure 4.3.7. The extended circulation required to do this
confers a third benefit in addition to the two described above: It allows rig crews to physically
inspect mud from the bottom of the well for the presence of hydrocarbons before cementing.

Pumping Cement

After completing the pre-cementing mud circulation, rig personnel pump cement down the well,
then pump additional drilling mud behind the cement to push (or displace) the cement into the
desired location at the bottom of the well. As they pump the cement, rig personnel must ensure
that the oil-based drilling mud does not contaminate the water-based cement. The oil and gas
industry has developed a variety of techniques to ensure that this does not occur. Rig personnel
at Macondo used a common approach called the “two-plug method.”” The two-plug method
uses rubber darts and wiper plugs to separate the cement from the drilling mud as the cement
travels down the well.

Rig personnel begin the cement pumping process by pumping water-based spacer fluid down
the drill pipe, They then drop a bottom dart into the drill pipe, followed by the cement, then

a top dart and more spacer fluid. After pumping the final spacer fluid down the drill pipe, rig
personnel resume pumping drilling mud to push the spacer-dart-cement-dart-spacer train down
the drill pipe.

Figure 4.3.8. Wiper plugs cause cement contamination.

When the bottom dart reaches the end of the drill
pipe, it fits into and launches a bottom
wiper plug from the running tool that
attaches the drill pipe to the production
casing. The bottom plug then travels
down inside of the production casing,

separating thecementbehinditfrom 4

the spacer fluid and drilling mud :
ahead. Similarly, when the top dart S
reaches the end of the drill pipe, it

launches a top wiper plug from the
running tool. The top plug also travels
down the inside of the production casing
and separates the cement from spacer fluid

and drilling mud behind.
Mud Wiped |
. : Into Cement ;
The rig crew continues to pump mud down the drill pipe to displace ereacmnemneancr

the cement into position. Eventually, spacer fluid reaches the float

valves and flows through the valves. After the spacer flows through the float valves,
the bottom plug Iands on top of the float valves, where it stops. Circulating pressure
causes the bottom plug to rupture, allowing cement to pass through the plug into the
shoe track, After all of the cement flows through the ruptured bottom plug, the top plug
lands on top of the float valves. Unlike the bottom plug, the top plug does not rupture.
It instead blocks further flow of fluids down the well. When the top plug lands, the
cement should be in place. Rig personnel stop pumping drilling mud and allow the
cement to set in a process called waiting on cement. If the cementing process was

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Figure 4.3.9. Lift pressure.

Cement

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“Turning the
Corner”

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TrialGraphix

Pressure increases to lift cement in

the annulus,

designed and executed properly, the cement should at this point fill the
shoe track and should cover the hydrocarbon zone in the annular space
outside the production casing.

Even if rig personnel execute a two-plug cementing process precisely
according to plan, cement can still be contaminated by drilling mud. As
the wiper plugs travel down the casing, they wipe a film of mud away
from the casing walls. The bottom plug removes most of the mud film
but not all of it. The remaining mud film can contaminate the cement
between the plugs as shown in Figure 4.3.8. The top plug also wipes the
casing, but instead of wiping mud out of the way of the cement, it wipes
that mud into the back portions of the cement flow.

The casing shoe track is designed to provide room for contaminated
cement at the tail end of the pumping process. Absent a shoe track, that
contaminated cement would travel into the annular space, potentially
compromising zonal isolation.

Cement Evatuation

It is not easy for rig personne] to be sure about the progress or final
result of a cement job at the bottom of a deepwater well. Cement does
its work literally miles away from the rig floor, and there is no way to
observe directly if the cement slurry arrives at its intended location,
let alone whether it is contaminated or otherwise compromised. As a
result, rig personnel cannot know whether the cement will isolate the
well from the hydrocarbons in the reservoir as they pump the cement.

Because cementing is difficult to observe directly, the oil and gas
industry has developed a number of methods for evaluating cement jobs
indirectly, And because proper cementing is critical to well integrity,
the APT calls proper cement evaluation “indispensable.””’ But each of
the various methods of cement evaluation has limitations, and the API
standard on cement evaluation therefore notes:

Anyone who wants to competently evaluate the quality of a
cement job must thoroughly understand all the variables,
assemble and comprehend the relevant pieces of information,
and reach the proper judgment.2

By understanding the full set of variables at play for a particular cement job, the right mix of tools
can be employed to evaluate the cement,

Volume and Pressure Indicators

While pumping a cement job, a cementing crew knows only how much cement and mud they have
sent down the well and how hard the pumps have been working to push it. Using these volume
and pressure readings, the rig crew looks for three general indicators of success during the job:
full returns, lift pressure, and on-time plug landing.

A cementing crew gets full returns when the volume of mud returning from the well during a
cement job equals the volume of fluids (spacer, cement, and mud} pumped down into the well. To
determine whether they are getting full returns, the cementing crew monitors mud tank volumes.

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Figure 4.3.10. Bumping the plugs. If the volume of fluid flow into the well equals
the fluid flow out, the crew can infer that the well
is behaving properly as a closed and leak-free
container. If flow out is less than flow in, the
ee © crew has lost returns or lost circulation, and
Detected by can infer that mud and/or cement has flowed
Stem: into the formation.” The crew cannot tell where
on Ri the rock fractured, however, and where the mud
might have gone.*4

Lift pressure, shown in Figure 4.3.9, is a
steady increase in pump pressure that begins
when the cement flows out the bottom of the well
casing and “turns the corner” to flow upward
against gravity. The pressure increases because
cement is generally heavier than drilling mud
(and has a different viscosity). If the cementing
crew observes a steady pressure increase at the
appropriate time after pumping cement down
into a well, they can infer that the increase is

lift pressure and that cement has arrived at the
bottom of the well and has begun flowing upward into the annular space. Seeing the expected lift

TrialGraphix

pressure also allows the crew to infer that cement is not being lost into the formation.

Finally, the rig crew can also watch pressure gauges to infer whether the wiper plugs used to
separate the cement from surrounding drilling mud have landed or bumped on time at the
bottom of the well as shown in Figure 4.3.10. By calculating the volume of the inside of the well
and the rate at which they are pumping fluids into it, cementing crews can predict when the
bottom plug and top plug should land. They then watch the rig’s pressure gauges for telltale
pressure spikes that indicate when the plugs actually land. If the pressure spikes show up when
expected, the cementing crew can infer that the plugs landed properly, that cement arrived at the
bottom of the well and flowed out of the shoe track into the annulus, and that substantial volumes
ot mud did not contaminate the cement as it moved down the well. If the pressure spikes do not
appear on time, that suggests problems. For instance, large volumes of mud may have bypassed

one or both of the wiper plugs. (Some volume of mud always bypasses the plugs; the plugs do not
wipe the casing walls perfectly.) % ,

While pressure and volume indicators ean suggest that a cement job has gone as planned, they do
not give cementing crews any direct information about the location and quality of the cement at
the bottom of the well. In particular, they do not indicate whether there has been channeling in
the annulus or shoe track, or the location of the top of cement (TOC) in the annulus.* These
indicators also are not sensitive to all of the issues that can cause cement to fail.

Cement Evaluation Logs

Because pressure and volume readings during the cement job are imperfect indicators of
cementing success, the oil and gas industry has also developed tools for more directly examining
a cement job after it is pumped. These cement evaluation tools generate data, or “logs,” known
as cement evaluation logs. Technicians commonly lower cement evaluation tools down inside the
well on a wire line.” Once the tools reach an area that has been cemented, sensors in the tools
probe the integrity of the new cement, measuring whether and to what extent the cement has

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Figure 4.3.11. Cement bond log tool. filled the annular space between the cement and
the formation.”

The most basic element in a cement evaluation system is the
cement bond log tool.”” The cement bond log tool works
by measuring the well casing’s response to acoustic signals.
The tool includes an acoustic transmitter and receiver that
are separated from each other by several feet of distance. The
transmitters emit bursts of acoustic waves, and the receivers
record the reverberations from those waves™ as illustrated

in Figure 4.3.11. Because steel casing, set cement, and fluids
all respond differently te the waves, a technician can tse the
recordings to evaluate the quality of the cement job, just as one
can discern a muffled bell from a free-swinging bell by
ringing it.”!

Modern cement evaluation systems combine the fairly
straightforward cement bond log with variable-density logs,”
ultrasonic imaging tools, and flexural attenuation logs.) By interpreting the combined data from
these tools, a technician can assess the amount and quality of the cement in the annular space,#
including the TOC and the location and severity of channels in that cement.

TrialGraphix

Although modern cement evaluation logs have become increasingly sophisticated and reliable,
they still have limits.** First, they are not easy to read; it takes an experienced technician to
properly interpret the data. Second, very low-density cement, such as cement produced with
nitrogen foam technology, can be difficult to evaluate with these tools.” (The density of the
foamed cement at Macondo was not low enough to cause evaluation difficulties, however.3*)
Third, cement evaluation tools must be adjacent to annular cement in order to examine it, That
means that the tools cannot evaluate cement in the shoe track or in the annular space below the
float equipment. Float equipment and the shoe track cement block the tools from physically
accessing those areas. Fourth and finally, cement evaluation logs work best after cement has
completely hardened—a process that can take more than 48 hours.” Consequently, operators
typically do not run cement evaluation logs until completion operations.

Additional Methods

There are other methads to evaluate a cement job in addition to cement evaluation logs and
pressure and volume indicators. In particular, a negative pressure test assesses whether a
bottomhole cement job contains pressures outside the well and seals the well off from formation
pressure. Chapter 4.6 of this report discusses negative pressure tests in detail,

Remedial Cementing

If cement evaluation reveals problems with the primary cement job, rig personnel can remediate
the primary cement after pumping it. Ata well like Macondo, the most common method for
remediating the primary production casing cement is called squeeze cementing.

Figure 4.3.12 illustrates that squeeze cementing first involves perforating the production casing
to provide access to the annular space around it. Rig personnel perforate the casing by lowering a
tool that uses shaped explosive charges to punch holes through the casing and into the formation.
Rig personnel then pump, or “squeeze,” cement under pressure through the holes. Ina properly

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Channeling

TrialGraphix

From upper left: 1) Poor centralization has led to channeling; 2) a bridge plug is placed below the remediation area, and a packer is positioned
above; 3) a perforation gun is lowered and fires shells through the casing and inte the formation; 4) cement is pumped into the area, forced
through the perforations, and into the formation, creating a seal.

executed squeeze job, the remedial cement then flows into the annular spaces where the primary
cement has failed, filling in any channels and isolating zones as necessary.

Cement Slurry Testing

Cement hardens as a result of chemical reactions that depend on pressure and temperature. In
the field, cement slurries are normally mixed at ambient temperature and pressure, then exposed
to increasing temperatures and pressures as they are pumped down the well. These increasing
temperatures and pressures can not only alter the chemical and physical properties of the liquid
slurry and cured cement, but also can affect the cement curing process itself. Because every well
presents a different combination of cementing conditions, it is critical for a cementing company to

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test a cement slurry design against expected conditions in the particular well before pumping it
into that well.

Cement slurries consist of a number of ingredients, including dry Portland cement (which

itself is a combination of several chemical compounds), water, and various dry and liquid
chemical additives. Cementing personnel adjust the concentrations of these ingredients to

suit the particular needs of a given well. Cement slurry designs thus vary from well to well. To
complicate matters further, many of the ingredients used in a cement slurry are made from
naturally occurring materials, and their precise chemical composition depends on their source.”
The liquid chemical additives may vary from batch to batch, and the mix water composition can
vary depending on its source. This means that each batch of cement slurry is different. Finally,
the constituents of a given cement slurry also may degrade in storage upon exposure to heat,
humidity, and atmospheric gases such as carbon dioxide. To address this variability, cementing
companies usually perform their pre-job testing with representative samples of the actual
ingredients that will be pumped into the well.

Pilot and Pre-Job Testing

A cementing company typically conducts at least two rounds of cement testing prior to pumping
a challenging or uncertain cement job. First, it performs “pilot tests” substantially in advance

of pumping the job in order to develop an appropriate cement slurry design (the recipe). At the
time of the pilot tests, the operator gives the cementing company the best available information
about the downhole conditions. That information may be incomplete, especially in the case of an
exploratory well (such as Macondo). Sometime prior to pumping the cement, when the operator
has learned the actual downhole job conditions, the cementing company typically performs
pre-job tests using the actual cement ingredients that have been stored on the rig and will be
pumped downhole. These pre-job tests are meant to confirm that the cement design will perform
successfully during the upcoming job.

Laboratory Tests

To isolate hydrocarbons at the bottom of a well, the cement must display several attributes. First,
as the cement is pumped into place at the bottom of the well, it must remain in a pumpable fluid
state and not thicken prematurely. Second, once in place, it must set and develop strength within
a reasonable time period. And third, the set cement must be sufficiently strong to provide casing
support and zonal isolation. To check these things, cementing companies typically run a number
of tests to evaluate a cement design during pilot and pre-job testing. The API has published
recommended procedures for running these tests.“

Cement Test. Cement tests examine various properties of. the cement slurry and the set cement,
and investigate the curing process. Thickening time tests determine how long the cement slurry
will remain pumpable (before starting to set up) under the temperature and pressure conditions in
the wellbore. Compressive strength tests determine the iength of time required for the cement
slurry to develop sufficient strength to provide casing support and zonal isolation. Rheology tests
examine various cement slurry flow properties. The slurry viscosity and yield point affect the
pumping pressure required for slurry ptacement and the displacement efficiency by which drilling
fluid is removed from the annular space. The yield point also provides information concerning
slurry stability—the ability of the slurry ta keep solids in suspension and prevent fluid-phase
separation. Static gel strength is a measure of the degree to which an unset cement slurry
develops resistance to flow when at rest. Free-fluid tests directly examine slurry stability,

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As cement slurry travels down a well, it encounters inereasing heat and pressure, Laboratory
technicians sometimes stir the slurry at elevated temperatures (and sometimes at elevated
pressures) to simulate these conditions in order to better understand how the cement will behave
when it reaches its intended location. This practice is known as cement conditioning (not to
be confused with mud conditioning, described abeve).

Modeling the Cementing Process

Before pumping cement, engineers can also model the cementing process using computer
simulation programs. Engineers run these simulations using data about wellbore and casing
geometry, mud conditioning, the number and placement of centralizers, and the volume,
pumping rate, and characteristics of the various fluids pumped down the well. The simulations,
in turn, predict various things about the cementing process such as the pressure that will be
required to purmp cement.

Engineers routinely use cement simulations to model the complex process of mud displacement
from the annular space. Predicting mud displacement is important for at least two reasons. First,
if the cement flow does not displace mud and spacer from the annular space, those materials may
create a flow path for hydrocarbons. Second, and relatedly, poor mud displacement increases

the potential for gas to flow into the cement column as it sets.” This gas flow can itself cause
channeling and further compromise zonal isolation.

As the oil and gas industry develops deeper wells and more complicated well designs, engineers
rely increasingly on computer modeling to predict mud removal. Operators and cementers

can use these models to predict the impact of changing parameters such as cement flow rate

and centralizer placement. By doing so, they can optimize these interrelated parameters for
individual well conditions rather than relying on rules of thumb to guide their decisions. At the
same time, the fluid mechanisms of mud displacement, gas flow, and other cementing phenomena
are exceedingly complex. Computer simulations cannot model these phenomena precisely. In
addition, even the best computer models depend entirely on their input data; if the input data are
inaccurate, the modeling results will be inaccurate as well.

Preparing for the Macondo Cement Job
Lost Returns at Macondo

BP and Halliburton designed crucial features of the Maconde cement job in response to the
April 9 lost returns event (when drilling mud flowed out of the wellbore and into the formation)
described in Chapter 4.2. Although BP engineers successfully restored mud circulation by
pumping 172 barrels of heavy, viscous “lost circulation” fluids down the drill pipe, they also
realized the situation had become delicate. Based on data from the lost circulation event,

the engineers calculated that they had to maintain the weight of the mud in the wellbore at
approximately 14.0 pounds per gallon (ppg) in order to maintain well control.“ Drilling ahead
with that mud weight would exert even more pressure on the formation, raising the equivalent
circulating density (ECD). BP engineers calculated that drilling with 14.0 ppg mud in the

wellbore would yield an ECD of nearly 14.5 ppg—an increase that the engineers believed could
induce lost returns again.

The engineers concluded they had “run out of drilling margin” and that they could no longer
drill to their planned total depth of 20,600 feet below sea level. Instead, they cautiously drilled
ahead from 18,193 to 18,360 feet in order to extend the wellbore beyond the pay zone. Optimally,

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engineers prefer to drill far enough beyond the pay zone to ensure that the float collar and shoe
track will both be entirely below the pay zone. Among other things, this allows the operator
eventually to use logging tools to evaluate all of the cement in the annular space in the pay zone,
In March, before the April 9 lost circulation event, a BP engineer stated that BP planned an
extended shoe track at Macondo.*

Wellbore Logging and Conditioning

After drilling, BP directed Schlumberger to run a series of logs to collect data from the well.
Between April 10 and 15, 2010, Schlumberger technicians evaluated the formation to determine
its porosity and permeability, and gathered fluid and core samples from the well. The logging
data led BP to conelude that it had drilled into a hydrocarbon reservoir of sufficient size (at least
50 million barrels”) and pressure that it was economically worthwhile to install a production
casing. Schlumberger also ran a caliper log to determine the exact diameter of the wellbore.”

On April 16, before running the final 97%s-inch x 7-inch long string production casing, the rig
crew circulated the open wellbore bottoms up.” They did not record any mud losses during this
process. The crew inspected mud from the bottom of the well and found that it contained
1,120 gas units on a 3,000-unit scale." This was not an unusual amount of gas because the
mud at the bottom had been sitting in place in the well for about a week at that point.” After
circulating on April 16, gas eventually decreased to 20 to 30 units.”

Designing the Macondo Cement Job

BP’s cement planning focused heavily on reducing the risks of further lost returns. BP recognized
that if the formation fractured again during cementing, it could compromise the cement job and
force the rig crew to conduct remedial cementing operations. BP engineers focused particular
attention on ensuring that the ECD during cementing would not exceed the threshold that they
believed would induce further losses. In order to minimize the ECD during cementing, BP:

(1) reduced the volume of cement that would be pumped, (2} reduced the rate at which the cement
would be pumped, and (3) used nitrogen foamed cement for reduced density.™

Cement Volume

Wellbore conditions are rarely optimal, and it is difficult to be sure precisely where cement
has flowed during a cement job. Engineers can therefore improve the odds of achieving zonal
isolation by increasing the volume of cement in the well design. Pumping more cement is a
standard industry safeguard against uncertain cementing conditions. It reduces the risk of
contamination by diluting the amount of contaminants in the cement. It also decreases the
impact of errors in cement placement.

MMS Cement Volume Requirements

At the time of the Macondo blowout, MMS regulations included very few requirements that
related to the cement design process at Macondo. One of those requirements concerned the
volume of cement for a primary production casing cement job. According to 30 C.F.R, § 250.421:
“As a minimum, you must cement the annular space at least 500 feet above the casing shoe and
500 feet above the uppermost hydrocarbon-bearing zone.”

In other words, MMS required that the TOC in the annular space of the production casing be at
least 500 feet above the “uppermost hydrocarbon-bearing zone.”

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BP’s Internal Guidelines

BP’s Engineering Technical Practice 10-60 (ETP 10-60), titled “Zonal Isolation Requirements
during Drilling Operations and Well Abandonment and Suspension,” lists the company’s internal
engineering design rules for cementing, ETP 10-60 states:

1.3 Zonal Isolation design criteria for cementing of primary casing strings to meet well
integrity and future abandonment requirements, shall meet one of the following:

"30m TVD [total vertical depth] (100 ft TVD) above the top of the distinct permeable
zone where the top of cement (TOC) is to be determined by a proven cement
evaluation technique (Section 5.3).

“300 m MD [measured depth] (1000 ft MD) above the distinct permeable zone where
the hydraulic isolation is not proven except by estimates of TOC (Section 5.3). For
each well the actual TOC shall be recorded along with the method used for this
determination. Where the actual TOC is below the plan, the TOC shall be reviewed
with stakeholders for its impact on future well integrity, operability, suspension and

abandonment operations.

Section 5.3 of ETP 10-60 distinguishes a “proven cement evaluation technique” from an
“estimate” of TOC by stating that “to accurately assess TOC and zonal isolation cement sonic
and ultrasonic logs should be used.” By contrast, the ETP states that temperature logs (which
can detect the heat exuded by cement) and cement column backpressure measurements can be
used to “estimate” TOC. This means that unless a BP engineering team plans to run sonic and
ultrasonic logs, it should design the cement job so that there is 1,000 feet of cement above the
highest distinct permeable zone in the well.

In addition to zonal isolation, BP also considers annular pressure buildup (APB) in planning
TOC.* The high temperatures caused by bringing hydrocarbons to the surface during later
production can cause pressure buildup in the annular space. If trapped, the annular pressure will
build up and can potentially collapse the inner casing string on itself and ruin the well. One way
drillers avoid this is by allowing annular pressure to escape into the formation. By not cementing
all the way up to the next liner—which necessarily means a lower TOC and lower volume of
cement—the drillers allow a route for escape.” It is likely that APB concerns were a factor in
determining TGC and cernent volume at Macondo,™

Macondo Cement Volume

After the early April lost returns events, the BP Macondo team decided to limit the height of the
cement column in the annulus. They had little room to maneuver: A higher cement column in
the annulus would have exerted more pressure on the fragile formation below, increasing the ECD
of the cement job and risking further lost returns.

Driven by ECD concerns, BP’s engineering team focused its attention on determining where TOC
should be. While the main hydrocarbon reservoir zone at Maconde began at 18,100 feet,*? BP
estimated that the “top HC [hydrocarbon] zone” began at 17,809 feet. BP engineers decided

to pump only as much cement above that zone as MMS required.“ On or about April 14,” they
determined that TOC should be 17,300 feet below the ocean surface—503 feet above the top
hydrocarbon zone and 830 feet above the main hydrocarbon zone.

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On April 14, BP senior drilling engineer Mark Hafle initiated a formal management of change
review of the plan to set the production casing.“ He marked the document as a high priority and
asked that its approval be completed by the next day.“ Hafle incorporated the design decision
regarding TOC in the management of change document. The document discussed the risk that
the primary bottomhole cement would not act as a barrier: “If losses occur during the cement job,
possible cement evaluation, remedial cement operations, dispensations and/or MMS approvals
will be required prior to performing TA operations due to a lower than required Top of Cement
in the annulus. Possible hydrocarbon zones could be left exposed in the annulus with only the
casing hanger seal as the single barrier for the TA.” In the event that occurred, the document
went on to note, “A perf[oration] and squeeze operation could be performed to add a second
barrier in the annulus.”” BP drilling and completions operations manager David Sims reviewed
the management of change document and commented that the “[c]ontent looks fine.” BP
drilling engineer team leader Gregg Walz, BP wells team leader John Guide, BP engineering
manager John Sprague, and others also reviewed the document—all approved.”

Keeping TOC to a minimum necessarily reduced the total volume of cement that Halliburton
pumped down the well. Several other features of the Macondo well also limited the totat amount
of cement that could be pumped:

"the relatively short distance the well had been drilled below the main pay sands;
"the relatively narrow annular space between the production casing and the formation;
and

BP’s decision not to pump any cement behind the top plug.”

Halliburton calculated that it should pump approximately 51 barrels of cement (about 60 barrels
after foaming) down the well in order to fill the shoe track and the annular space up to BP’s
specified TOC,” BP engineers recognized that this was a relatively small volume of cement that
would provide little margin for error,”

Cement Flow Rate

Just as increased mud flow rate improves wellbore conditioning, higher cement flow rates tend to
increase the efficiency with which cement displaces mud from the annular space, Cement must
be pumped fast enough so that it will scour mud from the side of the wellbore instead of merely
flowing past. The API notes that “[h]igher pump rates introduce more energy into the system
allowing more efficient removal of gelled drilling fluid.””* However, increased pump pressure
required to move the cement quickly would mean more pressure on the formation (ECD) and an
increased risk of lost returns.”4

One way in which BP reduced the risk of lost returns at Macondo was by lowering the rate of
cement flow. BP pumped cement down the well at the relatively low rate of four barrels or less
per minute.” This was a lower rate than called for in earlier drilling plans,” but BP did
inform Halliburton of the change and Halliburton’s computer models accounted for the
reduced fiow rate.

Use of Nitrogen Foamed Cement

One very direct way to reduce the amount of pressure that a column of cement exerts on
the formation below is to use lightweight cement. While there are several ways toe generate
lightweight cement, BP and Halliburton chose to use nitrogen foamed cement. Cementing
personnel create nitrogen foamed cement by injecting inert nitrogen gas into a base cement

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slurry. This produces a slurry that contains fine nitrogen bubbles. Because nitrogen gas weighs
so little compared to cement, the nitrogen bubbles make the overall cement mixture less dense
than the base cement slurry.

BP and Halliburton jointly decided to use foamed cement technology at Maconde. (Chapter 4.4
discusses the choice in more detail.) This would reduce the weight of the middle portion of the
Macondo cement slurry from the base slurry density of 16.74 ppg down to a foamed slurry density
of 14.50 ppg.”

While using foamed cement slurry brought certain benefits, it brought risks as well. Chapter

4.4 explains in more detail how an unstable foamed cement slurry can fail to provide zonal
isolation. A BP cementing expert specifically advised one of the Macondo engineers in March that
cementing the production casing using foamed cement would “present[] some significant stability
challenges for foam, as the base oil in the mud destabilizes most foaming surfactants and will
result in N, [nitrogen] breakout if contamination occurs.” To guard against this possibility, the
expert advised the team to pump non-foamed cement ahead of the foamed cement. This would
create a “cap slurry” on top of the foamed slurry in the annular space that would mitigate the risk
of foam instability.” _

Planning for and Installing Centralizers
at Macondo

BP procured only six centralizers for its production casing ahead of time, even though its

plans had originally called for a greater number. Shortly before running the casing, however,
Halliburton’s modeling revealed that BP would need more centralizers to prevent channeling. In
response, BP decided at the last minute to purchase 15 more centralizers and send them out to the
rig. But unlike the six centralizer subs that BP had purchased earlier, these additional centralizers
were slip-on centralizers with separate stop collars. Once BP realized this, it reversed itself and
decided not to use them, reasoning that the risks of using them outweighed the risks

of channeling.

API’s Centralization Guidance

While the API recognizes the importance of centralization, it has no recommended specific
standoff ratio for casing. Rather, the API encourages drillers to determine the appropriate
standoff ratio based on individual well conditions. Nor does the API have any recommendation or
standard for how far above the pay zone casing should be centralized. ™

BP’s Centralization Guidance

BP’s official technical guidance instructs engineers to design centralization programs to ensure
there is at least 100 feet of “centrali[zJed pipe” above the “permeable zone” in the event a cement
bond log is not run." The technical guidance does not provide any further detail on the number
or type of centralizers that should be used or the overall standoff that should result. BP in-house
cementing expert Erick Cunningham explained that the guidance does not provide specific
instruction on the number of centralizers that must be used to create a “centralized pipe.” A
casing could have centralizers on every joint or every three joints; both could be considered
“centralized pipe” depending on the particular well. Cunningham stated that the only way to
predict the effect of centralizer placement on mud displacement is through computer modeling.”

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Macondo Team’s Early Centralizer Plans

The Macondo team’s September 2009 well plan included enough centralizers to likely satisfy

BP’s internat technical guidance. That plan’s formula would have required the team to install at
least 16 production casing centralizers given the then-planned total depth of 20,200 feet, BP
then produced another well plan in January 2010. Its formula would have called for at least 11
centralizers on the production casing. Given the ambiguity of BP’s technical guidance, it is
unclear whether the January 2010 plan would have satisfied BP’s internal requirements." Both of
these plans were based on a deeper well depth and larger casing diameter than BP eventually used
at Macondo.

The Macondo Team Procured Six Centralizers for the
Production Casing

On March 31, BP drilling engineer Brian Morel emailed a Weatherford sales representative, Bryan
Clawson, and asked for “7-10” centralizer subs. Clawson emailed Morel to say that Weatherford
could only supply six centralizers immediately, explaining that it would take up to 10 days to
manufacture more. Though it is common for Weatherford to manufacture centralizers to order,
Morel did not ask Clawson to do so, even though Weatherford could at that point have made
additional subs in time.” Instead, the BP team decided that six centralizers would be sufficient."
These six centralizer subs that Morel ordered were ultimately the only centralizers that the
Macondo team used.

The Macondo Team Decided to Increase the Number of
Centralizers to Address Potential Channeling Problem

During the long string decision-making process, Halliburton cementing engineer Jesse Gagliano
had run a cementing model that predicted that the long string could be cemented successfully.
Though Gagliano was a Halliburton employee, he worked at BP’s Houston campus, and his office
was on the same floor as those of BP’s Macondo team.” Gagliano’s April 14 model assumed
proper centralization (by assuming a 70% standoff ratio) instead of calculating standoff based on
centralizer placement plans. It also assumed optimal wellbore size and geometry because BP
did not yet have caliper log data from the well." The April 14 model report did not predict
significant channeling.”

On April 15, BP provided additional data to Gagliano from the Schlumberger logs, including
caliper data, that could improve the accuracy of his cementing predictions. Based on the new
data, Gagliano modeled the cementing process again, this time without assuming optimal
centralization.” His new model predicted that using only six centralizers would result in lower
standoff ratios and that this would be inadequate to ensure good mud removal and avoid mud
channeling.™ It also predicted that the mud channeling would increase the height of the cement
column in the annulus (measured as TOC). That, in turn, would increase the effective pressure
that the cement column would exert on the well formation below (ECD),*

That afternoon, Gagliano alerted Walz and BP operations engineer Brett Cocales to his
predictions. Although Guide was out of the office, BP’s engineering team acted on the
information. The team was already concerned that the ECD during cementing operations could
lead to lost returns during cementing and viewed lost returns as the biggest risk they faced
during the cement job.* Based on Gagliano’s predictions of increased ECD, Walz sought and
obtained agreement from Guide's superior, Sims, to procure more centralizers and fly them to
the rig immediately.” It appears that Walz and the BP team were concerned at this point about

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Figure 4.3.13. the impact that channeling might have on ECD and were not

Centralizer sub (top) directly concerned about the impact channeling might have on
and slip-on centralizer : «gg
zonal isolation.

with stop collars

(bottom). , .
Gagliano ran and distributed two additional cementing models

from the afternoon into the evening of April 15 to evaluate

the impact of adding additional centralizers.” His first model
predicted that there would be reduced channeling with

10 centralizers, but still a significant amount. He emailed the
model to the team, writing what he had already warmed them
about in earlier conversation: “Updating [the model with
caliper and other data] now shows the cement channeling and
the ECD going up as a result of the channeling. I’m going to
run a few scenarios to see if adding more centralizers will help
us or not.”"” Morel, who was on the rig and unaware that the
team had made the unusual decision to fly centralizers to the
Deepwater Horizon, responded that it was “too late” to get any
more centralizers to the rig." Gagliano’s second model showed
even less channeling with 21 centralizers. Both models showed
that increasing the number of centralizers at Macondo would
reduce the potential for gas migration in the annular space,
though the centralizers’ effect on gas flow was apparently of
minor concern to the team compared with its effect on ECD.1%

Sitting in the Houston conference room with Gagliano, Cocales
carried out Walz’s instructions to secure additional centralizers.
Cocales called Clawson and ordered 15 additional Weatherford
centralizers, the most that could be sent on a single helicopter,’
BP also arranged for a Weatherford technician to accompany the
centralizers and oversee the installation.“ These 15 centralizers
were leftovers from another BP project called Thunder Horse.
Unlike the six centralizer subs already on the Deepwater
Horizon, however, the Thunder Horse centralizers were slip-on
centralizers as shown in Figure 4.3.13. BP’s engineering team
assumed that the Thunder Horse centralizers had integrated
stop collars.** But the centralizer schematics that Clawson sent
to Cocales on April 15 (and that Cocales forwarded to the rest of
the BP engineering team) showed that the stop collars would be

separate from the centralizers.’
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Weatherford

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Figure 4.3.14. Gregg Walz April 16, 2010 email to John Guide about centralizers,

From: Walz, Gregory §

’ To: Guide, John
Sent: Fri Apr 16 00:50:27 2016
Subject: Additional Centralizers

John,
Halliburton came back to us this aflernoon with additional modeling after they loaded the final directional surveys,
caliper toy iforination, and the plhaimed 6 contralivers, Wit it showed, is that the ECD at the base of sand jumped
up to 15.06 ppg. This is being driven by channeling of the cement hi gher than the planned TOC.
We have located 15 Weatherford centralizers with stop collars (Thunder Horse design} in Houston and worked
things ont with the rig to be able to fly them out in the morning, My understanding is that there ig no incremental
cost with the Might because they are combining the planned fights they already had. The maximum they could Ay
is 15,
‘The model rims for 20 centralizers (6 on hand + 14 new ones) reduce the ECD to 14.65 ppg, which is back below
the 14.7+ ECD we had when we lost circulation eartier.
There has been a tot of discussion about this and there are differi Ng apinions on the model accuracy. However, the
issue, is that we need 10 honor the modelin g to be consistent with our previous decisions to go with the long string.
Breti and J (ried to reach you twice to discuss things, David was still here in the office and | discussed this with him
and le agreed that we needed to be consistent with honoring the model,
To he wble to dave this option we needed to kick Hhings off al 6:00 pin tonight, so went ahead aud gave Brett the Bo
ahead, We also lined up 2 Weatherford hand for installing (hem to go oui on the same flight. I wanted to make sure
that we did not have a repear of the last Atlantis job with questionable centralizers going inta the hoie.
Jolin, Ido not like or sant to disrupt your operations and 1 ania full believer that the rig needs only one Team
Leader. 1 kagw ihe planning has been lagging behind the aperations aud T have to turn that around. 1 apologize if T
have over sicp my bounds.
_ would like Lo discnss how we want to handle these type of issucs in the future.
Please call me tonight if you want to discuss this in more detail.
Gregy
 Dolhing Bagiweering Team Leader
Ged! Drilling & Completions
Olive: 281-366-0281
Cell 281-543-8634
| E-Maik Gregory. Walevébp.com

BP
Walz later explained his decision, as shown in Figure 4.3.14, to order the additional 15 centralizers to
Guide in the following email, sent that night."

Walz justified the decision to order additional centralizers because “we needed to be consistent with
honoring the model.” That model had convinced the team that a long string could be successfully

cemented, so long as ECDs were kept in a low, narrow range. That model had also assumed that the
centralizers would achieve a 70% standoff ratio.

The Macondo Team Decided Not to Install the
Additional Centralizers

Sometime after 5 a.m. on April 16, a helicopter arrived at the Deepwater Horizon, carrying the 15
additional centralizers and Weatherford service technician Daniel Oidfather."" The helicopter did
not, however, carry the stop collars and accessories that would be needed to secure the centralizers
on the casing. Those had been shipped by boat and were scheduled to arrive by 4 p.m. (before the
casing would be run). Oldfather explained this to the rig crew when he landed.

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Figure 4.3.15. Centralizers delivered to the Deepwater Horizon on April 16, 2010.

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Morel was still visiting the rig at the time the helicopter landed. He examined the centralizers
when they arrived. Like the other BP engineers, he had expected that the centralizers would
have integrated stop collars. He now recognized that this was not the case." Morel called Guide
and told him that these were not the “one-piece” centralizers that he was expecting. Guide
agreed they were not what he had planned on using either." Morel took digital pictures of the
centralizers and emailed them to Guide, telling him that “the centralizers do not have the stop
[collars] on them.”') However, Morel also told Guide that the centralizers could still be used
because the boat carrying the collars would arrive in “plenty of time before needing them.”"4

After learning that the new centralizers had separate stop collars, Guide reversed Walz’s decision
to install them on the production casing in an email to him midday on April 16," shown here in
Figure 4.3.16,

Guide's email explained to Walz that the separate stop collars were prone to coming off the casing
as it was being run into the well. Not only did this mean that the centralizers could slip away from
their predetermined positions on the casing, but the centralizers could also get “hung up” against
other parts of the well as the casing was being run. This could prevent the casing from being

Figure 4.3.16. John Guide April 16, 2010 email to Gregg Walz about centralizers.

Fram: Guide, John

Sent: Fri Apr 16 17:48:11 2040

Ta: Walz, Gregory S

Subject: Re: Additiona! Centralizers
Importance: Normal

Attachments: David Sims. vef

I just found out the stop callars are not part of the centralizer as you stated. Also it will take 10 hrs to install chem.
We ate adding 45 pieces (hat can come otf as a last minute addition, 1 da nat like this and as David approved in my
absence { did not qnestion but now | very concerned about using them

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lowered all the way to the bottom of the wellbore—a serious problem that would take significant
time to fix."* Guide also noted that installing this type of centralizer would alone take 10 hours."”
In a phone call with Walz, Guide weighed the risks of losses that fewer centralizers presented
against the risk of a “last minute” addition of unfamiliar centralizers. There was no discussion

at that point of stopping the job in order to procure the “correct” style of centralizers.' Instead,
Guide told Walz and Sims he was reverting to the original plan. Sims agreed. Walz also accepted
the reversal, saying, “I agree. This is not what I was envisioning,” and apologized to the rest.of the
drilling team for the “miss-step” of ordering centralizers."?

During the same time period, Morel was attempting to position BP’s six centralizers where they
would be most effective, rather than place them at fixed intervals. As early as April 14, he had
emailed Gagliano his suggested placement.” On April 15, when he mistakenly told Gagliano that
it was “too late” to get more centralizers to the rig, he changed his recommendation, switching the
position of two centralizers.'" The next afternoon, the day BP reverted to the six centralizer plan,
Morel changed the position of two other centralizers on his own “casing tally.” Morel supposedly
based his recommendation on the caliper data and a wellbore image, though it is unclear precisely
how he used them.'3 .

Morel’s placement of the centralizer subs was different than Gagliano’s. Gagliano had assumed
the centralizer subs would be evenly spaced apart while Morel placed them at irregular intervals.’
It appeared that Morel expected Halliburton to run a new model based on his casing tally and
centralizer placement. Morel’s discussion with Cocales regarding the placement concluded, “We
can argue this one out after we get the actual vs model data and see how it reacts.”"3 As it turned
out, BP never requested a model that reflected the actual centralizer placement, and Halliburton
never ran one.

Neither Halliburton nor the BP engineering team appears to have considered that inadequate
centralization might increase the chance of a blowout. Rather, they concluded that the
worst-case result of using only six centralizers would be the need to conduct a remedial cement
squeeze job. As Cocales emailed Morel, “I would rather have to squeeze than get stuck above
the WH [wellhead]. So Guide is right on the risk/reward equation.””’ In other wards, Cocales
preferred the increased risk of having to perform a remedial squeeze job to the increased risk of
one or more of the 15 slip-on centralizers getting stuck in the well while the crew was running the
production casing.

The BP team did not explicitly communicate its decision to use only the six centralizer subs on the
rig to Halliburton or Weatherford.’® When Gagliano eventually learned of the decision (from a
Halliburton cementer aboard the rig), he asked BP to confirm it, and when he received no reply,
he ran a new model on April 18." It predicted poor centralization, “SEVERE” gas flow potential,
and mud channeling. When Gagliano emailed the latest cement job procedures to the BP team at
9 p.m. that night, he attached this report.” He spoke with Walz the next morning (April 19) about
the potential for chamneling."* Walz in turn spoke with Guide about the issue. BP nevertheless
proceeded with its plan to run only six centralizers.

As BP has pointed out, Gagliano’s April 18 model was based on several imperfect inputs. Notably,
Gagliano assumed that BP would use seven centralizers, not six, and again, that BP would space
them evenly along the casing, not place them in sections of the borehole where they might be
especially effective."* Gagliano also utilized an incorrect pore pressure in the reservoir zone,
which could influence the model's prediction of gas flow into the cement column.™ It is unclear,
however, whether eliminating these inaccuracies could have eliminated the channeling and gas

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flow predicted by the model. The use of fewer centralizers would decrease centralization, and
the actual placement of two-thirds of the centralized joints was within 15 feet of the placement of
the centralizers in the model." In any case, the April 18 model was the most accurate model of
the cementing process that existed before the blowout," and it predicted that channeling would
occur.'” (As of 10 months after the blowout, Halliburton had still not produced modeling results
that more accurately reflect Macondo conditions.}

BP began installing the casing at 3:30 a.m. on April 18 and finished at 1:30 p.m. on April 19."

Float Collar Installation and Conversion
at Macondo

Once the production casing string had been run, the crew turned to converting the valves in the
float collar. Until this time, the float valves had been propped open by an auto-fill tube. Rig
personnel needed to push the auto-fill tube down and out of place, thereby converting the float
valves and allowing them to close (Figure 4.3.1). Once closed, the float valves would become
one-way valves that would permit drilling mud and cement to flow down through the inside of the
casing but would prevent “reverse flow” or “u-tubing,””

Shoe Track Length and Placement

The shoe track is the space between the float collar and the reamer shoe at the bottom of the
casing. (Areamer shoe is a bullet-nosed, perforated piece of equipment that guides the easing
toward the center of the hole as it is lowered into the well). At the end of the cement job, this
space is filled with the “tail” portion of the cement that was pumped down the well. That tail
cement may be contaminated by mud scraped from the casing by the top wiper plug. Indeed, one
purpose of the shoe track is to contain contaminated tail cement.

A longer shoe track increases the volume for capturing contaminated tail cement, which in turn
reduces the likelihood that such cement will flow into the annular space. A larger shoe track also
dilutes the impact of any contamination in the tail cement. Morel suggested the shoe track at
Macondo may not have been long enough but ultimately left the decision whether to extend the
length up to the well site leaders on the rig." According to Guide, BP also wanted to set the shoe
track deeper in the well so that it was entirely below the hydrocarbon-bearing zone." Ultimately,
the shoe track was not below all of the hydrocarbon-bearing zones because the total depth of the
well was shallower than planned due to preblems of losing returns into the formation."

Macondo Float Collar

The production casing at Macondo contained a Weatherford Flow-Activated Mid-Bore Auto-Fill

Float Collar, which rig personnel had installed just above the 180-foot shoe track at the bottom of
the casing string.’

The Weatherford float collay held two aluminum float valves set approximately 6 inches apart and
propped open by an approximately 14-inch-long auto-fill tube (made out of phenolic resin).*4 As
shown in Figure 4.3.17, the auto-fill tube allowed mud to flaw up through the float valves while
the casing string was run. Once the production easing had landed, however, the crew needed to
push the tube out of the way to allow the float valves to close.

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The float collar’s auto-fill tube contains a 2-inch weighted ball, which is free to move within the
tube but not out of it. At the top of the float assembly is a plastic cage that prevents the ball from
escaping but allows mud to flow through. At the bottom is a phenolic resin collar that is less than
2 inches in diameter, which also allows mud, but not the ball, to flow through. When casing is
being run, mud flowing up through the tube pushes the ball against the inside of the cage. When
the casing lands, the ball falls to and plugs the bottom of the tube, leaving two small holes on the
side of the tube as the only path through the tube for mud circulated down through the well.‘

Figure 4.3.17. Auto-fill float collar.

Mud Flow

Cage
Ball

Auto-Fill Tube

Circulation Port

Coltar Balt

TrialGraphix
Flow while casing is being iowered (left) and flow during conversion (right).

The crew converts the float valves by pumping mud down through the tube, against the ball, and
out the two holes in the side. As rig personnel increase the flow rate of mud, the constricted flow
path creates a differential pressure against the auto-fill tube. Once the flow rate exceeds a certain
threshold, the differential pressure should break four shear pins that hold the auto-fill tube in
position and force the tube downward and out of the float collar assembly. With the auto-fill tube
removed, the float valves spring shut, “converting” the float collar into a one-way valve system.

According to calculations based on Weatherford’s specifications, the Macondo float collar
assembly would have converted at a flow rate of approximately 6 barrels per minute (bpm), which
would have created a 500 to 700 pounds per square inch (psi) differential pressure across the
auto-fill tube.” Achieving the requisite flow rate through the two small holes is the only way

to convert the collar. Significantly, increasing pump pressure above 500 to 700 psi would not
push the auto-fill tube through and convert the valves unless the flow through the two side holes
exceeds the flow rate recommended by Weatherford.

Attempted Float Conversion at Macondo

Rig personnel prepared to convert the float collar at approximately 2:30 p.m. on April 19.48
The crew turned on the pumps and began pumping mud down the well in an effort to establish

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circulation to convert the float equipment. Morel and BP well site leader Bob Kaluza oversaw
the operation.

The crew ran into a problem. They could not establish circulation (and hence had a zero flow
rate), suggesting that the float collar or shoe track was somehow plugged. The crew increased
pump pressure nine times before finally establishing mud circulation. They increased pump
pressure to 1,800 psi, then to 1,900 psi, but could not establish circulation.” Rig personnel then
pressured up to 2,000 psi four times but still could not circulate. The crew then pressured up

te 2,250 and then 2,500 psi and again failed to establish circulation.“~ The crew then made a
ninth attempt to establish circulation, pressuring up to 2,750 psi, then 3,000 psi. At 3,142 psi,
the pressure finally dropped and mud began circulating down through the float collar assembly."
Significantly, however, the crew never thereafter achieved sustained flow rates of 6 bpm,

which were required for conversion of the float valves based on calculations using

Weatherford specifications.

The rig crew sought advice from shore during these attempts to establish circulation. At

3:28 p.m., Hafle emailed a representative from Allamon, another equipment supplier, and asked
for the specifications of the auto-fill float equipment. The Allamon representative responded and
suggested “rocking the casing in 1000 psi increments up to 5,000 psi.” Morel called Clawson
at Weatherford, reported that they could not break circulation, and asked how much pressure
could be applied." After checking with the Weatherford engineering department, Clawson
called back Morel and told him they could increase pressure up to 6,800 psi." However, he also
told Morel that at 1,300 psi the ball would pass through the bottom of the auto-fill tube without
converting the floats."* Morel called Guide onshore and received permission to increase pressure
to 2,200 psi.’ The crew pressured up to 2,250 and then 2,500 psi but still failed to establish
circulation.”’ Guide later gave permission to increase pressure to 5,000 psi."

Questions remained after establishing circulation. At 5:30 p.m. on April 19, Clawson of
Weatherford emailed BP’s Morel inquiring about progress." Morel responded, “[W]e blew it

at 3140, still not sure what we blew yet,” indicating the rig crew did not know what they had
dislodged with the amount of pressure applied." Kaluza said, “I’m afraid we’ve blown something
higher up in the casing string.”"*' Hafle said, “Shifted at 3140 psi. Or we hope so.” Despite
these uncertainties, the rig crew proceeded onward.

Low Pressure After Circulation Established

After establishing circulation, BP observed another anomaly. The pump pressure required to
circulate mud through the well was significantly lower than expected.’ As shown in

Table 4.3.1, mud engineers from M-I SWACO had caleulated that 370 psi would be required to
circulate at 1 bpm and 570 psi at 4 bpm post-conversion. However, after the crew established
circulation, it took only 137 psi to circulate at 1 bpm, which made Kaluza uncomfortable.’ The
crew increased circulation to 4 bpm, which required only 340 psi of pressure—290 psi less than
M-I SWACO had predicted.

The low circulating pressure raised concern among personne! on the rig floor.* Kaluza spoke

to Morel, who was on the rig. Morel called Guide onshore, who agreed the pressures appeared
low."*? Cocales asked M-I SWACO to rerun its model to confirm that the original calculations had
not been mistaken; M-I SWACO’s models continued to predict substantially higher circulating
pressures than actually observed."

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Guide and Kaluza instructed the crew to switch from pump 4 te pump 3 to see if changing
pumps might change the circulation pressure." They observed a slightly higher circulation
pressure (396 psi at 4 bpm) after switching pumps, but this was still significantly lower than the
expected pressure."”°

Table 4.3.1. Low pressure observed after circulation established.

437 psi?

At Guide’s suggestion, the crew checked whether the Allamon diverter in the drill pipe might be
leaking. The diverter is a valve opened during casing installation to allow drilling fluid flowing up
inside the easing to flow into the annulus and back to the surface. At Macondo, the diverter was
located in the drill pipe, above the wellhead at a final depth of 4,424 feet." The test confirmed
the diverter was closed.'” Morel and Kaluza considered the possibility of a breach somewhere

in the casing string." However, they determined that a leak in the casing could not be fixed at the
moment and, if present, would be revealed by later pressure tests (such as the positive pressure
test}.'7?

BP never resolved the low circulation pressure issue, concluding instead based on discussions
with the rig crew that the pressure gauge was likely broken." Morel and others felt comfortable
proceeding because of the fact that the cement would be pressure tested later." According to BP
interview notes, Kaluza later described the low circulation pressure as an anomaly and said that
after he had discussed it with Guide and well operations advisor Keith Daigle, Guide instructed
Kaluza to begin pumping cement.'®

Pre-Cementing Wellbore Conditioning
at Macondo

Circulation After Landing the Long String

After converting the float valves, BP circulated mud again to clean the inside of the production
casing string, remove any debris and cuttings dislodged by the casing installation, and condition
the mud in the wellbore for cementing.

Planned Pre-Cement Circulation Volumes and Rates

An API recommendation from May 2010 was to circulate a minimum of 1.5 annular volumes or
one casing volume after casing installation, whichever is greater.? Had this recommendation
been in place at Macondo, this would have meant circulating 4,140 barrels (bbl) of drilling fluid.
Halliburton recommends performing at least one full bottoms up circulation on a well before
pumping a cement job." This standard would have required BP to circulate 2,760 bbl of drilling
fluid through the wellbore,"

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Early BP drilling plans discussed pre-cementing Figure 4.3.18. BP’s pre-cementing mud circulation.
circulation but did not call for a full bottoms up | ]

circulation. Omitting a full bottoms up is not unusual
at deepwater wells because of the large mud volumes

involved—circulating bottoms up could have taken as

Estimated

long as 12 hours at Macondo.* BP's September 2009 “Marker”
and January 2010 drilling programs called for circulating = reementing.
and conditioning 1.5 x pipe volume of drilling fluid =— Completed

“unless loss returns are experienced.” Although the
plan did not specify which “pipe” volume it was referring
to, circulation volumes are typically based on the volume
of the casing used. The total long string casing and drill
pipe volume at Macondo was 884 bbl, so it appears the
plan called for the rig crew to circulate 1,326 bbl of mud
before cementing.'®

BP changed its plans in response to the April 9 lost

circulation event, decreasing both the pre-cementing Estimated

. . , ' Bottoms Up
circulation volume and rate in order to reduce ECD. BP's “Marker”
April 12 plan thus called for circulating volume equal Peomenting
to one casing plus drill pipe capacity if hole conditions é Started

allowed, at a reduced rate of 8 bpm." In its subsequent
April 15 plan, BP further lowered the pump rate to
“reduced rates (3 bpm} based on MI-SWACO models to
keep ECD below 14.5 ppg.”*

*

TrialGraphix

Even after receiving full returns during circulation on

April 16, BP engineers remained concerned about lost returns during pre-cementing circulation.“
They feared that circulating too extensively could damage the inside of the wellbore or instigate
another lost returns event.’” Onshore, Walz discussed whether to circulate full bottoms up

with Gagliano late in the morning on April 19. Afterward, Walz also spoke with Guide about
circulation. Ultimately, Guide recommended against circulating bottoms up because of concern
over lost returns and gave approval to begin cementing.” On the rig, Halliburton cementing
engineer Nathaniel Chaisson brought up the idea of circulating a full bottoms up but was told by

a BP well site leader that a lower volume would be pumped.™ Halliburton’s April 18 cementing
proposal lists reduced volumes, calling for 111 barrels at 1 bpm, followed by 150 barrels at 4 bpm
for a total of 261 bbi."” Chaisson noted in the April 18 plan that the volumes and pump rates listed
were “as per co, man,” indicating that one of the BP well site leaders had provided it.

Pre-Cement Circulation Volumes and Rates

At approximately 4:18 p.m. on April 19, the rig crew re-established mud circulation after running
the long string.” The rig crew then circulated a total of approximately 350 barrels of mud at
rates up to 4 bpm before beginning the cementing process. This figure exceeds the 261 bbl
called for in the April 18 Halliburton cement job procedure" but is significantly lower than the
2,760 bbi required for a full bottoms up.2”

